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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,
Plaintiff,

Vs. CV. NO. 02-2749-B

Cr. NO. 98~20237(G)
NATHAN CARTER,

Defendant.

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ORDER GRANTING MOTION TO PROCEED §§ FORMA PAUPERIS
ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL
ORDER DENYING MOTION UNDER 28 U.S.C. § 2255
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Defendant Nathan Carter, Bureau of Prisons registration.number
14989-076, who is presently confined at the Federal Correctional
Institution (FCI) in Manchester, Kentucky filed a pro §§ motion

under 28 U.S.C. § 2255, seeking to set aside his conviction for

violating 21 U.S.C. § B4l(a)(l). Carter also filed motions to
proceed in forma pauperis and for appointment of counsel. The

motion to proceed in forma pauperis is GRANTED.
Rule 8(c) of the Rules Governing Section 2255 Proceedings in
the United States District Courts provides:

If an evidentiary hearing is required, the judge shall
appoint counsel for a movant who qualifies for the

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appointment of counsel under 18 U.S.C. § 3006A(g)1 and

the hearing shall be conducted as promptly as

practicable, having regard for the need of counsel for

both parties for adequate time for investigation and
preparation. These rules do not limit the appointment of
counsel under 18 U.S.C. § 3006A at any stage of the
proceeding if the interest of justice so requires.
Because the Court, after reviewing the motion to vacate, has
concluded that no hearing is necessary, the motion for appointment
of counsel is DENIED.

On October 7, 1998, a federal grand jury indicted defendant
Carter on one count of distributing approximately 140 grams of
cocaine, in violation of 21 U.S.C. § 841(a)(1)(Count One), and one
count of distribution of approximately 80 grams of cocaine base, in
violation of 2l U.S.C. § 84l(a)(Count Two). The defendant
proceeded to trial and on February 11, 1999, a jury returned a
verdict of guilty on both counts of the indictment.

On April 30, 1999, United States District Judge Julia Gibbons
sentenced the defendant to three hundred sixty months imprisonment
on Count One and life imprisonment on Count Two, to be served
concurrently. The Court imposed a six year term of supervised
release on Count One and a ten year term of supervised release on

Count Two, to run concurrently. Carter appealed and the Sixth

Circuit Court of Appeals affirmed his conviction and sentence.

 

l The reference to 18 U.S.C, § 3006A(g}, instead of 3006A(a)(2)(B),
both here and in Rule 8 of the Rules Governing Section 2254 Proceedings in the
United States District Courts, is a result of the failure of Congress and the
Rules Committee to amend the Rules after section 3006A was amended. The language
formerly located at subsection g has since been slightly modified and transferred
to subsection (a)(2)(B}.

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United States v. Nathan Carter, No. 99-5667, 2001 WL 493401 (6th
Cir. May 2, 2001), Cert. denied, NO. 0l-5754, 534 U.S. 935 (OCt. l

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2001).

On September 26, 2002, defendant filed this § 2255 motion
contending that his conviction and sentence should be set aside.
He contends that:

1) counsel was ineffective by:

(A) failing to challenge his sentence on the

basis that the jury did not determine the
quantity of drugs, violating the

principle announced in Apprendi v. New
Jersey, 530 U.S. 466 (2000);

“A Section 2255 can never be utilized as a substitute for an
appeal." Sunal v. Large, 332 U.S. 174, 178 (1947); United States
v. Walsh, 733 F.2d 31, 35 (6th Cir. 1984). The Sixth Circuit has
recently reaffirmed this limitation on section 2255 relief:

Given society's substantial interest in the finality of

judgments, only the most serious defects in the trial

process will merit relief outside of the normal appellate
system. Hence, when a federal statute, but not the

Constitution, is the basis for postconviction attack,

collateral relief from a defaulted claim of error is

appropriate only where there has been fundamental

unfairness, or what amounts to a breakdown of the trial
process.

Grant v. United States, 72 F.Bd 503, 506 (6th Cir. 1996)(citing
Reed, v. Farley, 512 U.S. 339, 354 (1994)). Even. claims of
constitutional error that could have been raised on appeal are
waived unless the defendant demonstrates cause and prejudice for

that failure. United States v. Fradv, 456 U.S. 152, 167~68 (1982);

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Bagnoli v. United States, No. 95-5731, 1995 WL 730482 at **2 (6th
Cir. Dec 08, 1995)(claim of double jeopardy violation barred by
failure to raise it by appeal of original conviction and sentence);
§epulveda v. United States, No. 95-1147, 1995 WL 592039 at **2 (6th
Cir. Oct 05, 1995){same).2

Defendant contends that his conviction (and by implication the
procedural default issue), resulted from the ineffective assistance
of appellate counsel. Strickland v. Washington, 466 U.S. 668,

687 (1984), establishes the standard for an ineffective assistance

claim. A petitioner must show:

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deficient performance by counsel; and
2. prejudice to the defendant from the deficient
performance.
See id. at 687.

A_ prisoner attacking his conviction bears the burden of
establishing that he suffered some prejudice from his attorney's
ineffectiveness. Lewis v. Alexander, 11 F.3d 1349, 1352 (6th Cir.
1993); lsabel v. United States, 980 F.2d 60, 64 (1st Cir. 1992).

"[A] court need not determine whether counsel's performance was

deficient before examining the prejudice suffered by the

 

defendant." Strickland, 466 U.S. at 697. If a reviewing court
2 Although citation to unpublished Sixth Circuit precedents is

disfavored, each of these cases is referred to in the absence of clear published
case law from this Circuit “because it establishes the law governing the present
action and 'there is no {Sixth Circuit] published opinion that would serve as
well.'" Norton v. Parke, 892 F.2d 476, 479 n.7 (6th Cir. 1989).

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finds a lack of prejudice, it need not determine whether, in fact,
counsel's performance was deficient. ld. at 697.

To demonstrate prejudice, a movant under § 2255 must establish
"a reasonable probability that, but for counsel's unprofessional
errors, the result of the proceeding would have been different."
Id. at 694. Additionally, however, in analyzing prejudice,

the right to the effective assistance of counsel is

recognized not for its own sake, but because of the

effect it has on the ability of the accused to receive a

fair trial. Absent some effect of challenged conduct on

the reliability of the trial process, the Sixtb.Amendment

guarantee is generally not implicated.

Lockhart v. Fretwell, 506 U.S. 364, 368 (1993)(citing United States

 

v. Cronic, 466 U.S. 648, 658 (1984)). "Thus an analysis focusing
solely on mere outcome determination, without attention to whether
the result of the proceeding was fundamentally unfair or
unreliable, is defective." Fretwell, 506 U.S. at 369.

Defendant Carter contends that his conviction and sentence
violate the principles enunciated in Apprendi v. New Jersev, 530
U.S. 466 (June 26, 2000). Apprendi was not decided until after the
final briefs were submitted in defendant’s direct appeal of his
conviction to the Sixth Circuit. Because Carter had been
sentenced, but his conviction was not yet final when Apprendi was
issued, the Court will consider whether the defendant can establish
any prejudice through counsel's failure to raise an Apprendi issue

during the pendency of defendant's direct appeal.

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Carter's claim that the jury failed to determine the drug
quantity is factually and legally frivolous. Carter complains that
the jury was instructed that

[i]t is not necessary that the government establish that

the precise weight is as alleged in the indictment but

only that the government establish that some measurable

amount of the particular controlled substance involved in

that count was the subject of the acts that are alleged

in that count.

(Attachment to Carter's motion)

The indictment charged Carter with possessing approximately
140 grams of cocaine with the intent to distribute (Count One) and
possessing approximately 80 grams of cocaine base with intent to
distribute (Count Two). At trial, the Government presented the
testimony of Officer Jay Bailey who weighed the confiscated drugs
and transported them to the Tennessee Toxicology laboratory.
Officer Bailey testified that the cocaine base weighed 65.8 grams
and the net weight of the powder cocaine was 121 grams. (Transcript
of trial testimony, pp. 110-16) Frieda Saharovici, a research
toxicologist with the University of Tennessee testified that the
confiscated drugs were crack and powder cocaine. (Transcript of
trial testimony, pp. 117-19}.

The Court’s instruction was merely to clarify that the
Government must prove that Carter possessed the particular drugs
charged in the indictment, although the quantities did not have to

be the exact amounts set forth. in the indictment. The jury

returned its verdict of guilty on both counts, finding that Carter

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was guilty of possessing the drug quantities proven at trial, 65.8
grams of cocaine base and 121 grams of powder cocaine. Because
Carter was convicted of both counts, the drug quantities were
aggregated, pursuant to the 100:1 ratio of cocaine to cocaine base
(crack) enunciated in 21 U.S.C. § 841, resulting in a total drug
quantity of 67.01 grams of cocaine base. Accordingly, Carter's
base offense level was calculated based upon the proven quantities,
not the quantities charged. in the indictment. The statutory
maximum penalty for possession of at least fifty grams of a mixture
or substance containing cocaine base is life imprisonment. gee 21
U.S.C. § 841(b){1)(A)(iii).

Furthermore, the Government filed a separate and specific
information pursuant to 21 U.S.C. § 851 which provided Carter with
notice that it intended to rely on prior convictions to enhance his
sentence pursuant to 841(b), a mandatory term of life imprisonment
without release. The Court properly determined Carter was a career
offender. Any contention that the Court's determination violated
the principles of Apprendi is without merit, however because during
the pendency of Carter's appeal, Apprendi did not apply to the fact
of a prior conviction. See United States v. Gatewood, 230 F.3d
186, 192 (6th Cir. 2000). Furthermore, that determination did not
cause Carter's sentence to exceed. the statutory' maximum that

applied, which was life imprisonment.

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Accordingly, to the extent this motion may be construed as
raising any issue that the application of the career offender
enhancement violated the principles announced in United States v.
Booker, 125 S. Ct. 738 (2005), Blakelv'v. Washington, 542 U.S. 296
(2004), and Apprendi, such argument is without merit. Carter's
trial counsel cannot be deemed ineffective for failing to
anticipate the Supreme Court's holdings in Booker and Blakely.
Furthermore, the § 4Bl.1 career offender enhancement “stems from
the very type of recidivism enhancement that Almendarez-Torres v.
United States, 523 U.S. 224 (1998), held need not be charged and
proved before a jury.” United States v. Bradlev, 400 F.3d 459, 462
(6th Cir. 2005). “From Apprendi to Blakely to Booker, the Court
has continued to except such fact finding from the requirements of
the Sixth Amendment.” ld; Despite Justice Thomas' concurrence in
Shepard v. United States, 125 S. Ct. 1254, 1263-64 (2005),
foreshadowing the demise of the Almendarez-Torres exception, for
now.Almendarez-Torres remains the law, and Carter's Sixth.Amendment
argument lacks merit.

Accordingly, Carter‘ is unable to establish. any' deficient
performance by counsel. Counsel was not obliged by his Sixth
Amendment obligations to raise frivolous issues on appeal.
Furthermore, these alleged failures did not result in any prejudice

to the defendant. The motion is denied.

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The motion, together with the files and record in this case
"conclusively show that movant is entitled to no relief.'l 28
U.S.C. § 2255. See also Rule 4(b), Rules Governing Section 2255
Proceedings in the United States District Courts. Therefore, the
Court finds that a response is not required from the United States
Attorney, and that the motion may be resolved without an
evidentiary hearing. United States v. Johnson, 327 U.S. 106, 111
(1946); Baker v. United States, 781 F.2d 85, 92 (6th Cir. 1986).
Defendant’s conviction and sentence is valid, and his motion is
denied.

Consideration must also be given to issues that may occur if
the movant files a notice of appeal. Twenty-eight U.S.C. § 2253(a)
requires the district court to evaluate the appealability of its
decision denying a § 2255 motion.3 Section 2255 now incorporates
the old habeas procedure of issuing or denying a certificate of
probable cause, now renamed a certificate of appealability. No §
2255 movant may appeal without this certificate.

Lvons v. Ohio Adult Parole Auth., 105 F.3d 1063 (6th Cir.
1997), held that district judges may issue certificates of
appealability under the AEDPA. ld* at 1073. The court also held
that AEDPA codifies in amended § 2253 the standard for issuing a

certificate of probable cause found in prior § 2253, which was

 

3 Title I of the AEDPA substantially revised the habeas statutesr

including 28 U.S.C. §§ 2244, 2253, and 2255. Among other provisions, this Act
amends 28 U.S.C. §§ 2244(b) and 2255 to require the district court to dismiss any
subsequent § 2255 motion case absent permission from the court of appeals.

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essentially a codification of Barefoot v. Estelle, 463 U.S. 880

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893 (1983}. See LyOns, 105 F.Bd at lO73.

[P]robable cause requires something more than the absence
of frivolity . . . and the standard for issuance of a
certificate of probable cause is a higher one than the
1good faith' requirement of § 1915. .. . [A] certificate
of probable cause requires petitioner to make a
substantial showing of the denial of [a] federal right.
[A] question of some substance, or a substantial showing
of the denial of [a] federal right, obviously [does not
require] the petitioner [to] show that he should prevail
on the merits. He has already failed in that endeavor.
Rather, he must demonstrate that the issues are debatable
among jurists of reason; that a court could resolve the
issues in a different manner; or that the questions are
adequate to deserve encouragement to proceed further.

Barefoot, 463 U.S. at 893 (internal quotations and citations
omitted). In this case, the movant’s claims are clearly without
merit, and he cannot present a question of some substance about
which reasonable jurists could differ. The Court therefore denies
a certificate of appealability.

The Prison Litigation Reform.Act of 1995 (PLRA), Title VIII of

Pub. L. 104-134, 110 Stat. 1321 (Apr. 24, 1996), does not apply to

 

appeals of orders denying § 2255 motions. Hereford v. United
States, 117 F.3d 949, 951 (6th Cir. 1997). Cf. MCGore v.

Wrigglesworth, 114 F.3d 601, 610 (6th Cir. 1997)(instructing courts
regarding proper PLRA procedures in prisoner civil-rights cases).
Rather, to seek leave to appeal ip forma pauperis in a § 2255 case,

and thereby avoid the $255 filing fee required by 28 U.S.C. §§ 1913

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and 1917,4 the prisoner must seek permission from the district
court under Rule 24(a) of the Federal Rules of Appellate Procedure
(F.R.A.P.}. Hereford, 117 F.3d at 952. If the motion is denied,
the prisoner may renew the motion in the appellate court.
F.R.A.P. 24(a) states, in pertinent part that:
A party to an action in a district court who desires to
proceed on appeal in forma pauperis shall file in the
district court a motion for leave to so proceed, together
with an affidavit, showing, in the detail prescribed by
Forn14 of the Appendix of Forms, the party's inability to
pay fees and costs or to give security therefor, the
party's belief that that party is entitled to redress,
and a statement of the issues which that party intends to
present on appeal.
The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith. For the same reasons
the Court denies a certificate of appealability, the Court
determines that any appeal in this case would not be taken in good

faithi lt is therefore certified, pursuant to F.R.A.P. 24(a), that

any appeal in this matter by either defendant is not taken in good

   
  

faith, and they may not proceed on aprbr

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The fee for docketing an appeal is $250. See Judicial Conference
Schedule of Feesr “ 1, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917,
a district court also charges a $5 fee:

in forma pauperis.

 

 

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Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court by the appellant
or petitioner.

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Notice of Distribution

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Nathan Carter
FCI-MANCHESTER
14989-076

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Manchester, KY 40962

Honorable J. Breen
US DISTRICT COURT

